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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 BOROZNY, et al. individually and on behalf of all
 others similarly situated,                               No. 3:21-cv-01657 (SVN)

                        Plaintiffs,
                                                          Oral Argument Requested
        v.

 RAYTHEON TECHNOLOGIES CORPORATION,                       July 8, 2022
 PRATT & WHITNEY DIVISION, et al.,

                        Defendants.



             DEFENDANT RAYTHEON TECHNOLOGIES CORPORATION,
               PRATT & WHITNEY DIVISION’S MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Raytheon Technologies

Corporation, Pratt & Whitney Division (“P&W”), by and through its undersigned counsel,

respectfully moves the Court to dismiss the Consolidated Class Action Complaint filed by

Plaintiffs (ECF No. 385). Considering P&W’s arguments as set forth in P&W’s accompanying

Memorandum of Law in Support of its Motion to Dismiss, this Court should find that Plaintiffs

fail to state a per se claim for relief and dismiss the Complaint with prejudice.



Dated: July 8, 2022                             Respectfully submitted,

                                                By: /s/ Chahira Solh
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ORAL ARGUMENT REQUESTED
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022, I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing to all

counsel of record.


                                                    /s/ Chahira Solh
                                                    Chahira Solh (phv20470)




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